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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11     MICHAEL R. SPENGLER,                ) Case No. CV 18-6172-DOC (SP)
                                           )
12                        Plaintiff,       )
                                           )           JUDGMENT
13                  v.                     )
                                           )
14     NIKOLAY T. TEOPHILOV, et al.,       )
                                           )
15                     Defendants.         )
       _____________________________       )
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17
18          Pursuant to the Order Accepting Findings and Recommendation of United
19 States Magistrate Judge,
20        IT IS HEREBY ADJUDGED that this action is dismissed with prejudice and
21 without leave to amend.
22
23 Dated: November 9, 2020               _______________________________
24                                       HONORABLE DAVID O. CARTER
                                         UNITED STATES DISTRICT JUDGE
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